
I would affirm the judgment below.
In November of 1978, the City of Mobile initiated a Career Development Compensation Program in which employees were encouraged to improve their job skills by engaging in educational activities related to their job. Employees in the program received incentive pay on the basis of participation in educational activities and based upon the number of years employed.
In February of 1979, the Career Development Compensation Program was explained by representatives of the City to the members of the Personnel Board of Mobile County, and the program was approved by the Personnel Board for implementation by the City.
Payments under the Career Development Compensation Program were continued by the City of Mobile until October of 1981. In December of 1981, the City of Mobile, by letter, advised its employees that payments under the Career Development Compensation Program were being discontinued because of the City's inability to continue funding the program.
In October 1982, payments under the discontinued plan were scheduled to come due. At that time, the City failed to pay the employees any benefits under the plan. Consequently, the Mobile employees brought their complaints before the Mobile County Personnel Board. However, no action was ever taken by the Personnel Board.
In January of 1983, the plaintiffs filed this class action suit in which they requested the court to order the continuation of the Career Development Compensation Program and payments to employees thereunder, on the premise that the City of Mobile had failed to obtain permission from the Personnel Board to discontinue the compensation payments under the program *Page 520 
as required by law and the rules of the Personnel Board.
A nonjury trial was held on 21 November 1983. The trial court found that the benefits provided by the Career Development Compensation Program were "compensation" as defined by law and the Personnel Board rules. However, the court denied the claims of the employees and based its decision on findings that the Career Development Compensation Program, as administered by the Personnel Board, and the City, had been contrary to law, because the Director of the Personnel Board had failed to certify benefits provided under the Career Development Compensation Program and had failed to monitor the program as required by law. The trial court held that it could not, and would not, use its equity powers to promote or to require the continuance of an illegal activity.
The employees filed a motion for a new trial, which was denied on 13 February 1984. Thereafter, the employees filed this appeal.
Plaintiffs' complaint is an equitable action (partaking of the aspects of an ex delicto complaint), seeking to compel the Director of the Personnel Board, and the City of Mobile, to comply with the duties imposed upon them by law and Personnel Board regulations. The Director of the Board is required by Section 28 of Local Act No. 470 (1939) to certify all payrolls for any salary or compensation paid to any person in the classified service. This was not done with regard to the Career Development Compensation Program. Accordingly, the trial court correctly concluded that payments under the plan had been made contrary to law, and further, that equity could not command the continuance of an illegal act. Ex parte State ex rel. Mitchell,271 Ala. 203, 123 So.2d 209 (1960).
The appellants argue that the only reason the program was not certified by the Director was because the City of Mobile has failed to furnish the necessary employment and participation records that it had previously agreed to furnish. The Director, Mr. Richardson, explained that no such records were kept in his office because the duty and responsibility for keeping such records was delegated to the City of Mobile by agreement at the time the compensation plan was approved.
Under the facts as presented, the municipal employees have a clear and specific right to the certification of the Career Development Compensation Program; however, they are without an adequate legal remedy to enforce this right. Accordingly, a writ of mandamus would lie to compel the Director of the Personnel Board, and the City of Mobile, to perform their nondiscretionary ministerial tasks which are required by law.Ex parte Houston County, 435 So.2d 1268 (Ala. 1983); Reed v.City of Montgomery, 376 So.2d 708 (Ala. 1979).
As noted above, the Mobile County Personnel Board approved the Career Development Compensation Program on 6 February 1979, and, for a three-year period, payments were made under the plan. Section 28 of Local Act 470 (1939) provides in pertinent part:
 "CERTIFICATION OF PAYXOLLS: (a) It shall be unlawful for any County or City official, officer or employee, or any other officer, to pay or cause to be paid any salary or compensation to any person in the Classified Service, of Mobile County or any City therein, for personal services, unless the payroll, estimate, voucher, or account for such salary or compensation, containing the name of the person to be paid shall bear the certification of the Director
that the person or persons named therein are employees of the County or City and are legally entitled to receive the sums stated therein. . . ." (Emphasis added.)
Thus, the city employees should have petitioned for a writ of mandamus commanding the Director of the Personnel Board to certify the Career Development Compensation Program, and further directing the City of Mobile to both furnish the Personnel Board the necessary employment and participation records, and pay the benefits under the plan, upon certification. *Page 521 
I would hold that the trial court did not err in finding the Career Development Compensation Program could not be continued in the absence of the certification of the Director of the Mobile County Personnel Board.
BEATTY, J., concurs.